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                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


  JULIE AMANDA TILTON,

        Plaintiff,

  v.                                               Case No. 8:05-cv-692-T-30TGW

  DESLIN HOTELS, INC., et. al.,

        Defendants.
  _____________________________________/


                                         ORDER

        THIS CAUSE comes before the Court upon Defendants BV & BK Productions, LLP

  (“BVBK”) and Chad Ciani’s (together, “Defendants”) Renewed Dispositive Motion for

  Summary Judgment (Dkt. 692), Plaintiff Julie Amanda Tilton’s Memorandum in opposition

  to the same (Dkt. 240), and Defendants’ Motion for Leave to Clarify Record Concerning

  Dispositive Motions for Summary Judgment and this Court’s Order of May 24, 2007 (Dkt.

  243). The Court, having considered the motions and memoranda, and after hearing oral

  argument of the parties, determines that Defendants’ renewed motion for summary judgment

  should be granted.




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                                        Factual Background1

         Plaintiff’s claims in this case arise out of activities taking place in March of 2001 at

  the Desert Inn Resort Motel (the “Desert Inn” ) in Daytona Beach, Florida. Plaintiff stayed

  at the Desert Inn during her spring break from high school. During the course of her stay,

  Plaintiff participated in a number of spring break activities and contests taking place on the

  pool deck of the Desert Inn. These activities included a “wet t-shirt contest,” a “banana

  sucking contest,” a “muffin eating contest,” and a “sexual positions contest” (collectively,

  the “Contests”). At the time Plaintiff participated in the Contests, she was seventeen years

  and ten months old, and was living on her own (apart from her parents).2

         The Contests took place on a stage located on the pool deck of the Desert Inn.

  Plaintiff estimates that a crowd of 300 to 400 people observed the wet t-shirt contest from

  the pool deck of the Desert Inn. Plaintiff also estimates that one out of every ten people had

  a camera or video camera. While participating in the wet t-shirt contest, Plaintiff was aware

  that she and the other participants were being photographed and videotaped by members of

  the crowd.3




         1
         The summary of the facts and legal issues in this case contained Court’s Orders of May 24,
  2007 (Dkt. 205), and July 30, 2007 (Dkt. 215), are incorporated herein by this reference.
         2
          Plaintiff’s eighteenth birthday was May 26, 2001.
         3
           During her deposition, Plaintiff claimed to have no recollection of her participation in the
  other Contests besides the wet t-shirt contest. However, Plaintiff has since produced evidence that
  she participated in the other Contest immediately prior to participating in the wet t-shirt contest.

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         Defendant Chad Ciani (“Ciani”) was among the members of the crowd. Ciani was

  positioned on the second deck of the Desert Inn, approximately 20 feet above and 50 to 60

  feet away from the stage. Ciani took still photographs of Plaintiff and the other participants

  in the Contests, and later obtained video footage of the Contests from Defendant Michael

  Weitz. Ciani claims that at the time of the Contests, he was not aware that any of the

  participants were minors.

         In April of 2001, Ciani posted photographs and video footage of the Contests on

  www.bikinivoyeur.com, a website he operated. In 2002, Ciani partnered with Jason Maskel

  to form BVBK, an internet website company which now owns and operates a number of

  websites, including www.bikinivoyeur.com. BVBK sells subscriptions to its websites but

  does not sell videos or DVDs. Subscribers are granted access to content contained on the

  websites, including digital images and video clips. Subscribers to the www.bikinivoyeur.com

  website were granted access to digital images and videos of Plaintiff participating in the

  Contests.

                                   Procedural Background

         On February 1, 2007, Defendants moved for summary judgment on all of Plaintiff’s

  claims (Dkt. 147). On May 24, 2007, the Court deferred ruling on the motion for summary

  judgment as to Counts 17 and 18 of Plaintiff’s Amended Complaint (alleged violations of 18

  U.S.C. §§ 2252(a) and 2252(A)(a)) pending additional argument by the parties as to the

  definition of “simulated sexual intercourse” under 18 U.S.C. § 2256(2)(a).



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             In the May 24, 2007 Order, the Court considered whether Ciani timely removed

  images of the Plaintiff from the website upon receiving notice that she was a minor.4

  Plaintiff argued that Defendants had actual knowledge of her age at the time he was served

  with the Complaint in the companion case Badillo v. Playboy Entertainment Group, Inc., et

  al., Case No. 8:04-cv-591-T-30-TBM, i.e. March 31, 2004. During his deposition taken in

  companion case Brietfeller, et al. v. Playboy Entertainment Group, Inc., et al., Case No.

  8:05-cv-405-JSM-TGW, Ciani claimed he removed the Desert Inn content from 2001 three

  to four months after being served with the Badillo complaint. While the Court considered

  removal of the images within three to four months to be a reasonable period of time, Plaintiff

  presented evidence that her images were depicted on www.bikinivoyeur.com as late as 2005.

  Plaintiff’s attorney, Richard S. Shankman, filed an affidavit claiming that Plaintiff’s pictures

  were not removed but were instead moved to another location on the website. Relying on

  Shankman’s affidavit, the Court held that Plaintiff had raised a material issue of fact as to

  whether Defendants timely removed her images from their website upon receiving notice that

  she was a minor. However, the Court deferred ruling on Counts 17 and 18 pending

  additional briefing by the parties to address whether those images were “sexually explicit”

  within the purview of 18 U.S.C. § 2256(2)(a).




         4
          From visual observation, neither Ciani nor any juror reviewing Plaintiff’s images could
  reasonably conclude that she was a minor at the time she participated in the Contests.
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         On July 30, 2007, the Court entered an order denying Defendants’ motion for

  summary judgment as to Counts 17 and 18. The Court held that a reasonable jury could

  conclude that a number of images depicted on www.bikinivoyeur.com were a lascivious

  exhibition of the genitals, and thus “sexually explicit” in nature as defined under 18 U.S.C.

  § 2256(2)(a). Both this conclusion and the material issue of fact regarding removal of

  Plaintiff’s images precluded the entry of summary judgment in favor of Defendants.

         On July 21, 2007, discovery was re-opened for the limited purpose of allowing

  Defendants to take Shankman’s deposition. Following the deposition and with leave of the

  Court, Defendants renewed their motion for summary judgment. Defendants argue that

  during his deposition, Shankman could not identify which photos of Plaintiff he observed in

  2005. Because he could not identify the pictures, Defendants asserted that Shankman’s

  affidavit was self-serving, unreliable, and mere speculation as to whether the pictures

  allegedly remaining on the website were sexually explicit. In response, Plaintiff argued that

  (i) Ciani’s deposition testimony regarding his removal of the images was not precise5, (ii) the

  37 Xerox copies shown to Shankman during his deposition did not represent all the images

  that appeared on Defendants’ website, (iii) the images provided did not have website framing

  or utilize a wave back engine to help Shankman place the requisite incarnations of the

  website in time, (iv) Shankman claimed to have confirmed that every image of Plaintiff still

  appeared on the website after they were allegedly removed from the 2001 section of the

         5
          Plaintiff argues that Ciani’s use of the terms “maybe” or “about” regarding the time frame
  in which he removed the images (July or August of 2004) was not specific, and that a jury could
  reasonably conclude the images were removed more than four months after Defendants were served.

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  website, and (v) an affidavit of John Dabrowski, a video production specialist hired by

  Shankman to assist in his investigation, corroborated Shankman’s testimony that Plaintiff’s

  images were moved to another area of the website.

         Upon review of the renewed motion and response, the Court set the motion for oral

  argument on October 4, 2007. Plaintiff was directed to produce copies of all images she

  claims were depicted on Defendants’ website after August of 20046 and copies of all

  correspondence, if any, she or her counsel used to (i) notify Defendants that pictures of her

  as a minor were being depicted on Defendants’ website, (ii) request that Defendants remove

  her pictures from their website(s), and/or (iii) identify Plaintiff so Defendants could remove

  her images from their website(s).

         On October 3, 2007, Defendants filed their Motion for Leave to Clarify Record

  Concerning Dispositive Motions for Summary Judgment and This Court’s Order of May 24,

  2007 (Dkt. 243), supported by an affidavit of Ciani. The motion and supporting affidavit

  claim that Ciani was not aware of Plaintiff’s minority status, physical appearance, or

  depiction on the website until April 11, 2005, when Plaintiff filed her initial Complaint in the

  instant action. The images Ciani claimed to have removed within three to four months

  following the filing of the Badillo complaint were images of other plaintiffs in actions

  unrelated to Plaintiff. As the Badillo complaint did not name or reference Plaintiff, Ciani

  claims he was unaware of her likeness or minority status until he was served in the instant


         6
         August 2004 was approximately four months after Ciani was served with the Badillo
  complaint.
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  action. Further, Ciani claims to have removed all images of Plaintiff (and all images of

  activities taking place at the Desert Inn) within a few weeks of his February 8, 2005

  deposition, a month or two before Plaintiff initiated this action.7 During Ciani’s deposition

  taken in the Brietfeller case on February 22, 2006, he testified as follows when asked when

  he removed all of the Desert Inn content from the website:

                CIANI: After the last deposition8, maybe the month or so after,
                or could have been weeks, I’m not exactly sure. But not too
                much – not too far after; about a year ago, it would be safe to
                say.

                        The first content from 2001, about three or four months
                after I first got served with the lawsuit, I removed the 2001
                content, which was probably close to two years ago now. Then
                the remainder of the Desert Inn content about a year ago.

  Ciani Feb. 22, 2006 Deposition, pages 49-50.

         During the October 4, 2007 hearing on the renewed motion for summary judgment,

  the Court inquired as to whether Plaintiff or her counsel notified Defendants of Plaintiffs’

  minority status or likeness prior to filing this lawsuit so that Defendants could know Plaintiff

  was a minor and remove her images from the website. When no such evidence was

  produced, the Court instructed Plaintiffs’ counsel that Plaintiff had thirty (30) days to




         7
          Ciani claims that he was prompted to remove all remaining Desert Inn images based on
  counsel’s questions at his February 8, 2005 deposition. Ciani claims the questions aroused his
  suspicion that other minors may have been depicted on the www.bikinivoyeur.com website.
         8
          The “last deposition” was taken on February 8, 2005.

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  produce such evidence.9 On October 12, 2007, Plaintiff filed a notice to the Court claiming

  that “her counsel has made a diligent search for evidence that BV&BK Productions, LLP or

  Chad Ciani was informed of her age and shown her photograph so they could remove her

  images from their website, and that counsel cannot locate any such evidence.” (Dkt. 246).

                                              Discussion

  I.     Summary Judgment Standard

         Motions for summary judgment should only be granted when the pleadings,

  depositions, answers to interrogatories, and admissions on file, together with the affidavits,

  show there is no genuine issue as to any material fact and that the moving party is entitled

  to judgment as a matter of law. Fed.R.Civ.P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317,

  322 (1986). The existence of some factual disputes between the litigants will not defeat an

  otherwise properly supported summary judgment motion; “the requirement is that there be

  no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

  (1986)(emphasis in original). The substantive law applicable to the claimed causes of action

  will identify which facts are material. Id. Throughout this analysis, the judge must examine

  the evidence in the light most favorable to the non-movant and draw all justifiable inferences

  in her favor. Id. at 255.

         9
           During the hearing, Plaintiff’s counsel referenced a Declaration made by Plaintiff on July
  7, 2003, in the companion case Pippin v. Playboy Entertainment Group, et al. v. Playboy
  Entertainment Group, et al., Case No. 8:02-cv-2329-T030-EAJ. Counsel argued that the
  Declaration, which described Plaintiff’s participation in the wet t-shirt contest, put Defendants on
  notice of her minority status. However, the Declaration made no reference to Defendants, the fact
  that Plaintiff’s images were depicted on their website, or describe her likeness so that she could be
  identified among the participants.
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         Once a party properly makes a summary judgment motion by demonstrating the

  absence of a genuine issue of material fact, whether or not accompanied by affidavits, the

  nonmoving party must go beyond the pleadings through the use of affidavits, depositions,

  answers to interrogatories and admissions on file, and designate specific facts showing that

  there is a genuine issue for trial. Celotex, 477 U.S. at 324.       The evidence must be

  significantly probative to support the claims. Anderson, 477 U.S. at 248-49 (1986).

         This Court may not decide a genuine factual dispute at the summary judgment stage.

  Fernandez v. Bankers Nat'l Life Ins. Co., 906 F.2d 559, 564 (11th Cir. 1990). “[I]f factual

  issues are present, the Court must deny the motion and proceed to trial." Warrior Tombigbee

  Transp. Co. v. M/V Nan Fung, 695 F.2d 1294, 1296 (11th Cir.1983). A dispute about a

  material fact is genuine and summary judgment is inappropriate if the evidence is such that

  a reasonable jury could return a verdict for the nonmoving party. Anderson, 477 U.S. at 248;

  Hoffman v. Allied Corp., 912 F.2d 1379 (11th Cir. 1990). However, there must exist a

  conflict in substantial evidence to pose a jury question. Verbraeken v. Westinghouse Elec.

  Corp., 881 F.2d 1041, 1045 (11th Cir. 1989).




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  II.    Legal Analysis

         In Counts 17 and 18 of the Amended Complaint, Plaintiff alleges that Defendants

  violated 18 U.S.C. §§ 2252(a)10 and 2252A(a).11 In order to prevail on these claims, Plaintiff

  must establish that Defendants transported, received, distributed, or reproduced for

  distribution a visual depiction knowing, at the time of the transport, receipt, distribution or

  reproduction, that said depiction contained images of a minor engaging in sexually explicit

  conduct.12 Pursuant to 18 U.S.C. § 2256(2)(A), “sexually explicit conduct”means actual or

  simulated:

                 (i) sexual intercourse, including genital-genital, oral-genital,
                 anal-genital, or oral-anal, whether between persons of the same
                 or opposite sex;
                 (ii) bestiality;
                 (iii) masturbation;
                 (iv) sadistic or masochistic abuse; or
                 (v) lascivious exhibition of the genitals or pubic area of any
                 person.

  Pursuant to § 2256(8):

                 "child pornography" means any visual depiction, including any
                 photograph, film, video, picture, or computer or computer-

         10
            Section 2252(a) makes it illegal for any person to knowingly transport or ship, receive,
  distribute or reproduce for distribution any visual depiction of a minor engaging in sexually explicit
  conduct. See 18 U.S.C. § 2252(a).
         11
            Section 2252A(a) makes it illegal for any person to knowingly mail, transport, receive,
  distribute, reproduce for distribution, or possess any child pornography. See 18 U.S.C. § 2252A(a).
         12
            The scienter requirement applies to both the transport, receipt, production, or distribution
  of the sexually explicit material and the age of the performers. See United States v. X-Citement
  Video, Inc.,et al, 513 U.S. 64, 78 (1994).

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                   generated image or picture, whether made or produced by
                   electronic, mechanical, or other means, of sexually explicit
                   conduct, where--
                   (A) the production of such visual depiction involves the use of
                   a minor engaging in sexually explicit conduct;
                    (B) such visual depiction is a digital image, computer image, or
                    computer-generated image that is, or is indistinguishable
                   from, that of a minor engaging in sexually explicit conduct13; or
                   (C) such visual depiction has been created, adapted, or modified
                   to appear that an identifiable minor is engaging in sexually
                   explicit conduct.


         In United States v. X-Citement Video, Inc., 513 U.S. 64, 78 (1994), the Supreme

  Court held that the term “knowingly” in § 2252 extends both to the sexually explicit nature

  of the material and to the age of the performer. The Eleventh Circuit has acknowledged that

  the same scienter requirement in § 2252A extends to the acquisition or distribution of the

  subject material, the sexually explicit nature of the material, and the age of the performer.

  See U.S. v. Acheson, 195 F.3d 645, 653 (11th Cir. 1999), overruled on other grounds by Free

  Speech Coalition, 535 U.S. at 285.

         In the instant case, Plaintiff has admitted that she cannot produce evidence that

  Defendants were informed of her age before filing this lawsuit.                Further, Plaintiff

  acknowledges that until this suit was filed, Defendants did not know what Plaintiff looked

  like and could not have removed her picture even if they had known her name and age. It

  is Plaintiff’s position that the mere appearance of her image on Defendants’ website

         13
              In Ashcroft v. Free Speech Coalition, 535 U.S. 234, 258 (2002), the Supreme Court held
  §§ 2256(8)(B) and (8)(D) to be overbroad and unconstitutional. Section (8)(D) was repealed
  on April 30, 2003, and thus is not referenced herein.

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  establishes Defendants’ violation of the statutes at issue.

         During the October 4, 2007 hearing, Plaintiff’s counsel also argued that Defendants’

  removal of the subject images could not absolve them of liability under § 2252(a). Section

  2252(c)(2)(A) provides an affirmative defense to a charge of violating § 2252(a)(4) if the

  defendant cooperated with law enforcement and “took reasonable steps to destroy” the

  subject visual depiction. Section 2252(a)(4) relates only to possession and not to the

  creation, reproduction, or distribution of images of a minor engaging in sexually explicit

  conduct. Because the statutory affirmative defense relates only to possession, Plaintiff

  contends that Defendants’ removal of her images could not absolve them of liability for

  violating the statute.14

         Plaintiff’s positions are contrary to the Supreme Court’s holding in X-Citement Video

  and the Eleventh Circuit’s acknowledgment in Acheson. Plaintiff admits that Defendants

  were not informed of her age or likeness prior to her filing this lawsuit. And, such

  knowledge cannot be imputed to the Defendants in this case. The pictures in question do not

  depict anyone with the obvious appearance of a minor. The participants are physically

  mature and no juror could reasonably conclude from observation of the pictures themselves

  that any of the participants were minors. Without knowledge of Plaintiff’s age and likeness,

  Defendants could not have “knowingly” transported, received, distributed, reproduced,


         14
          Plaintiff also argued at the hearing that Defendants violated 18 U.S.C. § 2257 by not
  adhering to the record keeping requirements referenced therein. However, Plaintiff’s Amended
  Complaint does not allege a violation of this statute. Further, pursuant 18 U.S.C. § 2255, no civil
  remedy is available for a violation of this statute.

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  created, or possessed visual depictions of a minor engaging in sexually explicit conduct.

  Therefore, there can be no liability under the statutes. Further, Plaintiff has not produced

  evidence that at the time the lawsuit was filed, or any time thereafter, her images remained

  on Defendants’ website.15 Accordingly, the Court concludes that summary judgment is

  appropriate in favor of Defendants as to Counts 17 and 18 of Plaintiff’s Amended Complaint.

         It is therefore ORDERED AND ADJUDGED that:

         1.      Defendants’ Motion for Leave to Clarify Record Concerning Dispositive

                 Motions for Summary Judgment and this Court’s Order of May 24, 2007 (Dkt.

                 243) is GRANTED.

         2.      Defendants’ Renewed Dispositive Motion for Summary Judgment (Dkt. 230)

                 is GRANTED.

         3.      The Clerk is directed to enter Partial Final Summary Judgment against

                 Plaintiff and in favor of Defendants BV & BK Productions, LLP and Chad

                 Ciani on Counts 17 and 18 of Plaintiff’s Amended Complaint.

         4.      This Order disposes of all remaining issues in this case.

         5.       All pending motions are denied as moot.



         15
            In his affidavit and during his deposition, Shankman claimed to have discovered images
  of Plaintiff on the www.bikinivoyeur.com website sometime in 2005. Shankman did not specify
  when in 2005 he discovered these images. Ciani claims he removed all pictures from the website
  within a few weeks of his February 8, 2005 deposition. Shankman has not claimed that the images
  remained on the website as of April 11, 2005 (when Plaintiff filed her complaint in this action), or
  anytime thereafter. Therefore, Shankman’s affidavit does not refute the testimony of Ciani that all
  pictures of Desert Inn activities were removed (which would include those of Plaintiff even though
  Ciani did not know who she was) before this lawsuit was filed.
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             6.          The Clerk is directed to close this file.

             DONE and ORDERED in Tampa, Florida on October 19, 2007.




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  Counsel/Parties of Record
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